Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 1 of 12
"JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency Bl
City _Boston Related Case Information:
County _Middlesex Superseding Ind./Inf. _X Case No. _19-10081-IT
Same Defendant _X New Defendant
Magistrate Judge Case Number
Search Warrant Case Number See additional information

 

R 20/R 40 from District of

 

Defendant Information:

 

 

 

Defendant Name Gordon Ernst Juvenile: [ ] Yes No
Is this person an attorney and/or a member of any state/federal bar: [ ] Yes No

Alias Name

Address (City & State) Chevy Chase, MD

Birth date (Yr only): 1967 SSN (last4#);_ 6524 Sex M__ Race: White Nationality: USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA  _Etic S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V Yes [ | No. If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ ] No

Matter to be SEALED: [-] Yes No

(_ ]Warrant Requested Regular Process [ | In Custody

Location Status:

Arrest Date

 

 

 

 

 

 

[Already in Federal Custody as of in

[Already in State Custody at [__|Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ ] Complaint [| Information Indictment

Total # of Counts: [Petty —_—__ [Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: — 10/22/2019 Signature of AUSA:

 
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 2 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant

Set |

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set I 1

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

Gordon Ernst

19-10081-IT

 

 

U.S.C. Citations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Index Key/Code Description of Offense Charged Count Numbers
18 U.S.C. § 1962(d) Racketeering Conspiracy 1
Conspiracy to Commit Mail & Wire Fraud & Honest
18 U.S.C. § 1349 Services Mail & Wire Fraud 2
18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 4
Federal Programs Bribery
18 U.S.C. § 666(a)(1)(B) 6
, Wire Fraud & Honest Services Wire Fraud; Aiding &
18 U.S.C. §§ 1343 & 1346, 2 Abetting 7, 10
18 U.S.C. §§ 1341 & 1346, 2 Mail Fraud & Honest Services Mail Fraud; Aiding & A 19
18 U.S.C. §§ 1957 and 2 Money Laundering; Aiding & Abetting 22
18 U.S.C. § 981(a)(1)(C) Forfeiture
28 U.S.C. § 2461(c) Forfeiture

 

 

18 U.S.C. § 982(a)(1)

 

Money Laundering Forfeiture

 

18 U.S.C. § 1963(a)

 

Racketeering Forfeiture

 

 

 

 

 

 

 

 

 

 

18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK.

 

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, |8-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 3 of 12

®2JS 45 (3/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency FBI
City _Boston Related Case Information:
County _Middlesex Superseding Ind/Inf.§ ™% Case No. 19-10081-IT
Same Defendant xX New Defendant
Magistrate Judge Case Number
Search Warrant Case Number See additional information

 

R 20/R 40 from District of

 

Defendant Information:

 

 

 

Defendant Name Donna Heinel Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No

Alias Name

Address (City & State) Long Beach, CA

Birth date (Yr only): 1961 SSN (last4#):_ 8395 Sex W Race: White Nationality; USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [¥]Yes [No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ |No
Matter to be SEALED: [ Yes No
[Warrant Requested Regular Process [ ] In Custody

Location Status:

Arrest Date

 

 

 

 

 

 

[ | Already in Federal Custody as of in

[ ] Already in State Custody at [__ Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ |complaint [_]Information " Indictment

Total # of Counts: [_ ]Petty ——— [Misdemeanor ———_ Felony

Continue on Page 2 for Entry of U.S.C, Citations

I hereby certify that the case numbers of any prior prgceedings before a Magistrate Judge are
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Date: 10/22/2019 Signature of AUSA:
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 4 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk): 19-10081-IT

Name of Defendant Donna Heinel

Index Key/Code
Set 1 18 U.S.C. § 1962(d)

U.S.C, Citations
Description of Offense Charged

Racketeering Conspiracy

Conspiracy to Commit Mail & Wire Fraud & Honest

Count Numbers

 

 

 

 

 

 

 

 

 

 

Set2 18 U.S.C. § 1349 Services Mail & Wire Fraud 2
Set3 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 3
. Wire Fraud & Honest Services Wire Fraud; Aiding &
Set4 18 U.S.C. §§ 1343 & 1346, 2 Abetting 11-16
Mail Fraud & Honest Services Mail Fraud; Aiding &
Set5 18 U.S.C. §§ 1341 & 1346, 2 Abetting 21
Set 6 18 U.S.C. § 981(a)(1)(C) Forfeiture
Forfeiture

Set7 28 U.S.C. § 2461(c)

 

Set  18U.S.C. § 1963(a)

Racketeering Forfeiture

 

Set 9

 

 

Set 10

 

 

Set 1]

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/201

3
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 5 of 12

JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency BI
City Boston Related Case Information:
County Middlesex Superseding Ind/Inf. _X Case No. 19-10081-IT
Same Defendant X New Defendant
Magistrate Judge Case Number
Search Warrant Case Number See additional information

 

R 20/R 40 from District of

 

Defendant Information:

 

 

 

Defendant Name Jorge Salcedo Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No

Alias Name

Address (City & State) Los Angeles, CA

Birth date (Yr only): 1972 SSN (last4#):_ 9636 Sex M __ Race: White Nationality: USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA __Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]Yes[_]No_ Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ ]|No
Matter to be SEALED: [_] Yes No
( ]Warrant Requested Regular Process [ | In Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[_ ]Already in Federal Custody as of in

[_]Already in State Custody at [_|Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [| Complaint [| Information Indictment

Total # of Counts: [_ ]Petty ——— [_|Misdemeanor = Felony

Continue on Page 2 for Entry of U.S.C. Citations

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accurately set forth above.

 

Date: — 10/22/2019 Signature of AUSA:
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 6 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk): 19-10081-IT

Name of Defendant Jorge Salcedo

Index Key/Code
Set1 18 U.S.C. § 1962(d)

U.S.C. Citations
Description of Offense Charged

Racketeering Conspiracy

Conspiracy to Commit Mail & Wire Fraud & Honest

Count Numbers

 

 

 

 

 

 

 

 

 

 

Set 2 180U,S.C. § 1349 Services Mail & Wire Fraud

Set3 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 5
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 180U.S.C. §§ 1343 & 1346, 2 Abetting 17
Mail Fraud & Honest Services Mail Fraud; Aiding &

Set5 18 U.S.C. §§ 1341 &1346, 2 Abetting 20

Set6 _ 18 U.S.C. § 981 (a) (C) Forfeiture
Forfeiture

Set7 28 U.S.C. § 2461(c)

 

 

Set 3 18 U.S.C. § 1963(a)

Racketeering Forfeiture

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13 |

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

 

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

 

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

 

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 7 of 12

®JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. ll Investigating Agency FBI
City _Boston Related Case Information:
County _Middlesex Superseding Ind./Inf. _X Case No. 19-10081-IT
Same Defendant _X New Defendant
Magistrate Judge Case Number _
Search Warrant Case Number See additional information

 

R 20/R 40 from District of

 

Defendant Information:

 

 

 

Defendant Name Mikaela Sanford Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [ ] Yes No

Alias Name

Address (City & State) Folsom, CA

Birth date (Yr only): 1986 SSN (last4#): 5201 Sex W Race: White Nationality; USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA —__Eric S. Rosen Bar Number if applicable © _NY4412326
Interpreter: [ | Yes No List language and/or dialect:
Victims: [V]Yes []No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [] No
Matter to be SEALED: [-] Yes No
{ ]Warrant Requested Regular Process [ | In Custody

Location Status:

Arrest Date

 

 

 

 

 

 

[_ ]Already in Federal Custody as of in

[_]Already in State Custody at [_ ]Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [_|complaint [ ] Information Indictment

Total # of Counts: [_ ]Petty ————s [_ ]Misdemeanor == Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
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Date: — 10/22/2019 Signature of AUSA:

 
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 8 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk): 19-10081-IT

Name of Defendant Mikaela Sanford

 

Index Key/Code
Set 1  18U.S.C. § 1962(d)

Set2 18U.S.C. § 1349

U.S.C. Citations
Description of Offense Charged

Racketeering Conspiracy

Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

 

 

Set3 _18 U.S.C. §§ 1343 & 1346, 2

 

 

Set 4 18 U.S.C. § 981(a(1)(C)

Wire Fraud & Honest Services Wire Fraud; Aiding & A

Forfeiture

 

 

Set5 28 U.S.C. § 2461(c)

Forfeiture

 

 

Set 6 18 U.S.C. § 1963(a)

Racketeering Forfeiture

 

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION: _18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

 

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6473-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 9 of 12

®&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal Case Cover Sheet U.S, District Court - District of Massachusetts
Place of Offense: Category No. ll Investigating Agency FBI
City _Boston Related Case Information:
County _Middlesex Superseding Ind./Inf. _X Case No. _19-10081-IT
Same Defendant X New Defendant
Magistrate Judge Case Number
Search Warrant Case Number See additional information

 

R 20/R 40 from District of

 

Defendant Information:

 

 

 

Defendant Name Jovan Vavic Juvenile: [] Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No

Alias Name

Address (City & State) Rancho Palos Verdes, CA

Birth date (Yr only); 1961 SSN (last4#);_ 4266 Sex M Race: White Nationality: USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [ ] Yes No List language and/or dialect:
Victims: [V]Yes [_]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No
Matter to be SEALED: [ ] Yes No
( ]Warrant Requested Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[_ ]Already in Federal Custody as of in

[_ ]Atready in State Custody at [_ |Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [_]Complaint [Information Indictment

Total # of Counts: [_ ]Petty —— L_|Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
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Date: — 10/22/2019 Signature of AUSA:

 
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 10 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk): 19-10081-IT

Name of Defendant Jovan Vavic

Index Key/Code
Set]  18U.S.C. § 1962(d)

U.S.C, Citations
Description of Offense Charged

Racketeering Conspiracy

Conspiracy to Commit Mail & Wire Fraud & Honest

Count Numbers

 

 

 

 

 

 

 

 

Set2 180U.S.C. § 1349 Services Mail & Wire Fraud 3
Wire Fraud & Honest Services Wire Fraud; Aiding &
Set 3 _18 U.S.C. §§ 1343 & 1346, 2 Abetting 18
Set4 18US.C. § 981(@)(1)(C) Forfeiture
Set 5  280U.5.C. § 2461(c) Forfeiture
Racketeering Forfeiture

Set 6 _18 U.S.C. § 1963(a)

 

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK -

 

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

 

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 11 of 12

®JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency FBI
City _Boston Related Case Information:
County _Middlesex Superseding Ind./Inf. _X Case No. 19-10081-IT
Same Defendant X New Defendant
Magistrate Judge Case Number A
Search Warrant Case Number —_See additional information

 

R 20/R 40 from District of

 

Defendant Information:

 

 

 

Defendant Name —_Niki Williams Juvenile: [ | Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address (City & State) Houston, TX

Birth date (Yr only): 1974 SSN (last4#):_7938 Sex W Race: Black Nationality: USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]Yes[_]No_ Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [_]No
Matter to be SEALED: [ | Yes No
(Warrant Requested Regular Process [ | In Custody

Location Status:

Arrest Date

 

 

 

 

 

 

[_ ]Already in Federal Custody as of in

[_ ]Already in State Custody at [_ ]Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [ Complaint [| Information Indictment

Total # of Counts: [ ] Petty —————_ LJ Misdemeanor —————— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior progeedings before a Magistrate Judge are
accurately set forth above.

Date: — 10/22/2019 Signature of AUSA: es,

 
Case 1:19-cr-10081-IT Document 272-1 Filed 10/22/19 Page 12 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk): | 19-10081-IT

Name of Defendant Niki Williams

Index Key/Code
Set]  18U.S.C. § 1962(d)

Set 2 18 U.S.C. § 1349

U.S.C. Citations
Description of Offense Charged

Racketeering Conspiracy

Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

 

Set3 18 U.S.C. §§ 1343 & 1346, 2

Wire Fraud & Honest Services Wire Fraud; Aiding &
Abetting

 

 

 

 

 

Set4 18 U.S.C. § 981 (QI KC) Forfeiture
Set5 28 U.S.C. § 2461(c) Forfeiture
Racketeering Forfeiture

Set6 18 U.S.C. § 1963(a)

 

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

 

 

Set 10

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK .

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
